 

 

 

 

o

 

 
 
   
 

Eric H. Gibbs (State Bar No. 178658)
ehg@girardgibbs.com

Dylan Hughes (State Bar No. 209113)
dsh@girardgibbs.com

Phyra M. McCandless (State Bar No. 260021)
pmm @girardgibbs.com
GIRARD GIBBS LLP

601 California Street, 14th Floor
San Francisco, California 94104
Telephone: (415) 981-4800
Facsimile: (415) 981-4846

Attorneys for Plaintiff

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA ex rel. [FILED
UNDER SEAL]

Plaintiff,
v.
[FILED UNDER SEAL]

Defendant.

 

 

JCS

COMPLAINT FOR MONEY DAMAGES AND
CIVIL PENALTIES FOR VIOLATIONS OF
THE FALSE CLAIMS ACT

DEMAND FOR JURY TRIAL

 

 

 

 
 

 

 

oO So SN HN A FSF WD HN —

oo sn KN UO SF OYUN lc OlUlUCCOUlUOOWOUMLG ODN ROW NL Dl

 

ween

Y w

NATURE OF THE ACTION

1. This is a civil action brought by Relator Ronda Osinek on her own behalf and on behalf
of the United States of America against Kaiser Permanente (“Kaiser”) under the False Claims Act, 31
U.S.C. § 3729, et seq., to recover damages, civil penalties, and other relief owed to the United States
and Relator.

2. Defendant Kaiser is a private provider of Medicare Advantage insurance under Medicare
Part C. Kaiser defrauded the United States through a sophisticated scheme to upcode diagnoses to
ensure Medicare payments for reimbursable, high-value conditions. Kaiser effectuated its scheme
through data mining and pressuring physicians and staff to retroactively change patient medical
records.

3. Kaiser’s upcoding scheme is a direct violation of the Federal requirements for Medicare
beneficiary reimbursement, leads to the submission of false and fraudulent claims to the United States,
and results in Kaiser receiving excess Medicare payments.

PARTIES

4, Plaintiff is the United States of America by and through Relator, Ronda Osinek. Relator
is a resident of the State of California. Plaintiff brings this action on behalf of the United States
Department of Health and Human Services and its component, the Centers for Medicare & Medicaid
Services.

5. Relator Ronda Osinek has been employed by The Permanente Medical Group of Kaiser

Permanente, as a Data Quality Trainer since June 2006. Internal, non-public information known to

Relator serves as the basis for this action. Relator has direct knowledge of methods used by Defendant

to submit false or fraudulent data to CMS for reimbursement.

6. Defendant, Kaiser Permanente is a California corporation with its principal place of
business at One Kaiser Plaza, Oakland, California 94612. Kaiser is one of the largest Medicare
Advantage organizations in the country and has more enrollees in its Medicare Advantage plans than
any other organization in California. At all times relevant, Kaiser conducted business in California,
including but not limited to providing healthcare services through Medicare Advantage plans and to the

general public in California.

 

 

 

 
 

 

 

 

 

oO Oo SN DB UW F&F W HN

NO wpo NO NO NO NO WH NO NO HH HF HF FF HF FOO FOO eS
Co SN UO BR WD NH —-§ DS O0© CO NI HH FSF W NYO KK COC

JURISDICTION AND VENUE

7. This Court has subject matter jurisdiction under 28 U.S.C. §1345. This Court has
subject matter jurisdiction over the claims alleged in this Complaint under 28 U.S.C. §§ 1331 (Federal
question), 1345 (United States as plaintiff), and 31 U.S.C. § 3732(a) (False Claims Act).

8. This Court has personal jurisdiction over Defendant pursuant to 31 U.S.C. § 3732(a)
because Defendant can be found, resides, and transacts business in the Northern District of California
and because an act proscribed by 31 U.S.C. § 3729 occurred within this District.

9. This Complaint is not based on the facts underlying any pending action, within the
meaning of the False Claims Act’s first to file rule, 31 U.S.C. § 3730(b)(5).

10. This action is not precluded by any provisions of the False Claims Act’s jurisdiction bar.
31 U.S.C. § 3730(e) et seq.

a. This Complaint is not based upon allegations or transactions that are the subject of a
civil suit or an administrative civil money penalty proceeding in which the United States
is already a party. 31 U.S.C. §3730(e)(3).

b. There has been no “public disclosure” of the matters alleged herein and this action is
not “based upon” any such disclosure, within the meaning of 31 U.S.C. §3730(e)(4)(A).
Notwithstanding the foregoing, Relator is an “original source” of this information as
defined by 31 U.S.C. §3730(e)(4)(B) of the False Claims Act, and as such, she is
expressly excepted from its public disclosure bar.

11. Venue is proper in the San Francisco or Oakland Divisions of the Northern District of
California under 31 U.S.C. § 3732(a), 28 U.S.C. § 1391(b), and Civil Local Rule 3-2(d) because
Defendant can be found in and transacts business within this District.

THE FEDERAL FALSE CLAIMS ACT

12. The False Claims Act was originally enacted in 1863, and was substantially amended in
1986. Congress enacted the 1986 amendments to enhance and modernize the government’s tools for
recovering losses sustained by frauds against it after finding that federal program fraud was pervasive.

The amendments were intended to create incentives for individuals with knowledge of government

 

 

 

 
oO Oo SN NHN On Se WY NO —

N wo NO NO NO YN NY YN NO HH H- HF HF HF FO OS | |
ont NWN ON SP WYN |§ CO 6 Be HI HH TD SP WY NY & OC

 

v ~

frauds to disclose the information without fear of reprisals or government inaction, and to encourage
the private bar to commit resources to prosecuting fraud on the government’s behalf.

13. The False Claims Act provides that any person who presents, or causes to be presented,
false or fraudulent claims for payment or approval to the United States Government, or knowingly
makes, uses, or causes to be made or used false records and statements to induce the government to pay
or approve false and fraudulent claims, is liable for a civil penalty ranging from $5,500 up to $11,000
for each such claim, plus three times the amount of the damages sustained by the federal government.
No proof of specific intent to defraud is required under the Act.

14. The Act also allows any person having information about false or fraudulent claims to
bring an action for himself or herself and the government, and to share in any recovery. Based on these
provisions, Relator seeks through this action to recover all available damages, civil penalties, and other
relief for state and federal violations alleged. Although the precise amount of the loss from Kaiser’s
misconduct alleged in this action cannot presently be determined, it is estimated that the damages and
civil penalties amount to millions of dollars.

BACKGROUND

15. In 1965, Congress enacted Title XVIII of the Social Security Act, known as the
Medicare program. Medicare is a federally-funded health insurance program for people who are over
the age of 65, under age 65 with certain disabilities, and for people of all ages with End-Stage Renal
Disease. As of 2012, Medicare provided insurance to approximately 50.7 million people.

16. The Centers for Medicare & Medication Services (“CMS”) is the division of the
Department of Health and Human Services that is responsible for the reimbursement, administration,
and supervision of the Medicare program. Medicare includes the following categories of benefits:
hospital insurance for inpatient hospital care (Part A), medical insurance for doctors’ services and
outpatient care (Part B), and prescription drug coverage to offset the cost of medications (Part D).
Medicare beneficiaries may opt out of the traditional program and receive benefits through Medicare
Part C, also known as “Medicare Advantage.” Medicare Advantage plans are federally funded

privately-run insurance plans. For a monthly fee established by Medicare that is determined per

 

 

 

 
 

 

Oo co JI DB A BP WD HNO =

N NO KN NO NNO DY NR Rm meee
oS KN A SP WY NY SY Oo (Ol eOomUNDLUMGDlUlU DU UlUWLULULULNULCULr CUD

L !

enrollee, Medicare Advantage organizations, such as Kaiser, provide the services available through
Medicare Parts A and B (inpatient and outpatient services).

17. The per-enrollee monthly fee is derived by a formula that is primarily based on two
main factors. The first factor, the base rate, is the standard cost of providing Medicare Parts A and B
benefits to an average beneficiary. The second factor is a risk score that takes into consideration the
enrollee’s actual health risks based on disease conditions and his or her demographics, such as age and
gender. The risk score is calculated using a complex statistical model called the CMS-HCC Risk
Adjustment Model. The result is that enrollees with more severe health risks derive a higher monthly
payment because Medicare expects that they will require more expensive care. In other words, the
higher the risk score, the more money Medicare pays the Medicare Advantage organization (such as
Kaiser) each month.

18. | CMS requires Medicare enrollees’ disease conditions to be diagnosed and memorialized
by a physician as a result of a face-to-face encounter according to the International Classification of
Disease, Ninth Revision, Clinical Modification (“ICD-9”’), which is the official system of assigning
codes to diagnoses associated with health care in the United States. The ICD-9 codes are mapped to
disease groups known as hierarchical condition categories or HCCs. The HCC categories are, in turn,
used under the risk adjustment model to reflect the enrollee’s health risks, and thus directly correlate to
the amount of payments the Government is to pay the Medicare Advantage organization each month.

FEDERAL REQUIREMENTS FOR MEDICARE ADVANTAGE PAYMENTS

19. | Medicare Advantage plans such as Kaiser are legally obligated to accurately and
properly submit data to CMS to receive payment for Medicare beneficiaries. The Medicare Advantage
plan must have documentation from provider encounters (rather than prescriptions or test results)
supporting associated ICD-9 diagnoses. Any causal link between a disease and a resulting
complication must be established and supported during the doctor-patient visit. According to the ICD-

9 Official Guidelines:

The importance of consistent, complete documentation in the medical record cannot be
overemphasized. Without such documentation accurate coding cannot be achieved. The
entire record should be reviewed to determine the specific reason for the encounter and
the conditions treated.

 

 

 

 
oOo Oo SN HN UO FSF WD NO =

NON No NO WY NO PN NYO KN NO em me et
oN DH UU Ff WY NYO FY TD OO Oo I HDB WA BP WH NO | CO

 

v a)

The term encounter is used for all settings, including hospital admissions. In the context

of these guidelines, the term provider is used throughout the guidelines to mean physician

or any qualified health care practitioner who is legally accountable for establishing the

patient’s diagnosis. Only this set of guidelines, approved by the Cooperating Parties, is

official.

20. All relevant documentation is entered into a medical record at the time of service. CMS
recognizes, however, there may be times that a provider will need to amend, correct, or enter
documentation related to an encounter. CMS expects supplemental documentation to be occasional,
and that delayed or amended entries will be entered within a reasonable time frame. See Medicare
Program Integrity Manual, Pub. 100-08, 43.3.2.5 (Rev. 442, Implementation Jan. 8, 2013). CMS will
consider delayed or amended explanations for diagnoses so long as the explanations are for clarification
and not for substantiating retroactive diagnoses. According to the leading organization that trains and
certifies individuals on physician-based medical coding, the American Association of Professional
Coders or AAPC, Medicare understands a reasonable time frame to be 24 to 48 hours because it is not
reasonable for a provider to recall a visit two weeks (or more) after it occurred. Similarly, according to
AAPC, addenda to medical records should not be a normal practice, but an exception to CMS’ general
rule in which a provider fully documents a visit at the time of the encounter or shortly thereafter.

21. | CMS also requires that all documentation in a medical record be specific to a given
patient’s situation at the time of the documented visit, which means medical records documentation
language should not be the same (i.e., cloned or boilerplate) from patient to patient or provider to
provider.

KAISER VIOLATED THE FALSE CLAIMS ACT

22. Prior to 2004, Medicare Advantage organizations such as Kaiser were paid by CMS only
based on an enrollee’s demographic information. For instance, prior to 2004, Kaiser was paid the same
for all 77-year-old women in a community regardless of their actual disease conditions. When
Congress passed the Medicare Modernization Act of 2003, CMS phased in the CMS-HCC Risk
Adjustment Model between 2004 and 2007. Beginning in 2007, Medicare Advantage plans received
payments based entirely on the CMS-HCC Risk Adjustment Model, which, as described above,

considers an enrollee’s actual health risk.

 

 

 

 
 

 

 

 

oO Oo HN DO EH HER WY YP =

wo po NO NO HO NO HNO NO HN | YF FSF KF PF FO EO Pel elle
ao tN KN UO FH BY NY S| OF CO Pe HS HO Rh OBR DY YO HSH OC

 

23. Inresponse to the phase-in of the Risk Adjustment Model, Kaiser established the
Encounter Information Operations department. The department is managed by The Permanente
Medical Group, Inc., in Oakland, California, and tasked with overseeing Medicare coding and ensuring
document standards are met. The Encounter Information Operations department includes Data Quality
Trainers, Data Quality Auditors, CMS project managers, and CMS lead physician(s) who are assigned
to, and work out of, each of Kaiser’s Northern California facilities. Relator, a trained and certified
medical coder, was recruited and hired by The Permanente Medical Group as the Data Quality Trainer
and Audit Manager for the San Rafael Kaiser facility in 2006. Relator trained physicians on coding
guidelines. If the facility’s auditor found discrepancies between coding and documentation in progress
or visit notes, Relator was sent to meet with the physicians to remediate the discrepancies and re-train
them on proper coding practices.

24. ‘In or about 2007, there was a shift in the interactions with doctors and the management
of the Encounter Information Operations department at Kaiser. Kaiser’s Encounter Information
Operations department began using a system to capture “missed opportunities,” which are brought to
the attention of physicians to ensure that all possible Medicare billing opportunities are captured, a
process some Kaiser physicians refer to as “diagnosis chasing.” By moving away from its focus on
data quality and auditing physician coding to what Kaiser terms “refreshing” and ‘“‘data mining,” Kaiser
was able to increase its billings for high value hierarchical condition categories or HCCs.

25. Kaiser focuses its data mining on high value disease conditions for which Kaiser can
maximize its reimbursement from Medicare and increase its revenue. Put another way, Kaiser
identified the higher value HCCs and then determined the diagnoses its doctors would need to make to
support the HCCs Kaiser wanted to submit for Medicare reimbursement. As of 2012, the Encounter
Information Operations department used a variety of algorithms to identify the following disease
conditions for data mining, which leads to upcoding (changes made over time in the diagnosis codes
that make their enrollees appear less healthy than they actually are):

a. Chronic kidney disease
b. Diabetes mellitus with diabetic chronic kidney disease

c. Diabetes mellitus with diabetic nephropathy

 

 

 

 
oO Se SN HD TH SF W HNO —

Np WH NY NO NY WN NO VN NO Se Hee Ee Fe FeO EO eee
co oN NWN ON SF WD NY KF Oo Oo Bo IN HO OH HP WY NY | CO

w w

d. Congestive heart failure

e. Depression

f. Amputations

g. Ostomy

h. Tracheostomies

i. Stable angina

j. Peripheral vascular disease

k. Diabetic peripheral vascular disease

1. Diabetes with diabetic dyslipidemia
m. Diabetes with diabetic erectile dysfunction
n. Chronic respiratory failure

o. Cachexia/Protein Calorie Malnutrition

Severe obesity

co 3

Dementia

Seizure

7

s. Chronic pancreatitis

26. | The consequence of Kaiser’s focus on refreshing and data mining for missed
opportunities is that physicians take into consideration HCCs and the Medicare payment system when
coding and recording patient encounters. For example, Kaiser told its physicians to diagnose chronic
kidney disease instead of the lower value nephritis or nephropathy. From 2010 to 2012, Kaiser shifted
diagnoses from the lower risk nephropathy to the higher health risk (and higher-paying) chronic kidney
disease. The charts below demonstrate Kaiser’s success in bringing up its chronic kidney disease
diagnoses while shifting away from the lower-paying nephropathy. HCC 132 (nephropathy) dropped by
200 diagnoses per 10,000 members from 2010 to 2012. HCC 131 (chronic kidney disease), which has
a higher risk and is reimbursable at a higher rate than HCC 132, increased by more than 400 diagnoses

per 10,000 members during the same time period.

 

 

 

 
—

 

 

300

250 x x

 

200 pn etait ten cane meen cnet Catan ieee x maser ratte ent meen Ne same CNR RMR ge poet Mat oth my Rane anne ae em — ete atc eit

100 fee we nn wee cet ey te ee cent See gee ernie

Dxs Per 10,000 Members

50 . 7 on

: a pe sop pT ET ee Pe bas

 

 

rT r T T T ¥ T ame

SFO EBA SSF GSAA SRF SSC NSA FRS RWC DSA CVL NCAL NVL SCL SRO SIO

 

coco Oo ON DN OH FF WY KY

|
"Dec 2012) «2 Dec20i1 xDec2011 Dec 2011 as of
! Dec 2012

—

 

 

— pom,
Ro

 

—
ao

40 #4 KAISER PERMANENTE,

—=  —_
nA &

  

o Hee 134: Chronic Kidney Disease

—
nN

 

Dates of Service YTD 12/31/2012 « Data Extracted 1/5/2013

—_—

~
w
wn
8

 

—
oo

 

 

—
\O

N
oO

 

N WN
oO —

 

 

N
ao
°

 

Y T

SSF CVL SSC GSAA NSA FRS SJO NCAL SCL EBA SFO NVL DSA RWC SRO SRF

N
&

os Dec 2012 = +2012 Threshold == +2012 Expected Prevalence 4 Dec2011 x Dec2011 x Dec2011as of
Dec 2012

 

 

N
WN

 

1

N
an

1
1 1,54
1,741) 1 1 1

N
~

  

N
oo

 

 

 

 

 
oO Oo NTN DN AO FF WD HO

Nw bh HN bP HR KN DN HR DRO mm me ee
co Um)CUCON tO BR OUlWwON OOere CO lNOCONSCDNtaO OUWea N e  O

 

v “

27. Likewise, when CMS announces that HCCs are eliminated (and no longer reimbursable
by Medicare), Kaiser tells its physicians to change coding practices to reflect new reimbursable codes.
CMS is “concerned about the high rate of coding of other HCCs by M[edicare] A[dvantage]
organizations, [Fee for Service or] FFS providers, given that the coefficients are calibrated on FFS
data.” Therefore, CMS “made changes to .. . HCCs to address M[edicare] A[dvantage] coding
intensity.” For example, “[s]ince the clinically-revised model allowed [CMS] to better estimate
marginal costs for a wider range of renal disease (specifically, the current HCC131 renal failure is split
among a range of acute and chronic kidney conditions), we removed the lower-severity kidney disease
HCCs, including Chronic Kidney Disease (CKD) stage 3, CKD stages 1-2, or unspecified; unspecified
renal failure; and nephritis.” In other words, to address upcoding, CMS notified Medicare Advantage
providers that starting in 2014, the HCCs for chronic kidney disease stages 1 through 3 would be
eliminated, meaning that Kaiser would no longer receive reimbursement for patients submitted with
HCC 131. In response to CMS’s notification that HCC 131 will be eliminated, Kaiser promptly sent
materials to its staff to begin prompting physicians to code diagnoses for acute kidney injury instead of
chronic kidney disease stage 1, 2, or 3, which will be included in the 2014 HCC list and reimbursable
by Medicare.

28. | To support the HCCs submitted to Medicare, Kaiser needs its physicians to amend
patient files. Under CMS guidelines, physicians must verify that they considered a diagnosis or treated
a diagnosis during the physician encounter, which means a physician must address what was
contemporaneously considered if he or she addends a diagnosis. Kaiser’s Medicare enrollee medical
records include addenda with supporting statements or documentation that were not addressed at the
time of an encounter. Kaiser should be training physicians to follow Medicare best practices and
guidelines to contemporaneously document and code disease conditions during or immediately after
face-to-face visits. Instead, Kaiser has its physicians systematically addend patient records
retroactively—often many months after visits—with cloned or boilerplate language to make the patient
record appear to comply with CMS instructions.

29. After an encounter, Kaiser tells physicians to go back to see what a member’s previous

test results showed to make diagnoses, which is not an appropriate data source for coding a diagnosis

 

 

 

 
oO eo NWN OH FP WD HO =

NO wpo NH HNO NO HO NO HO NO | | | | FF Fe FSF Sl hl
ao nN DN AN SP WY HH KH oO CO He HD DH OH Se WY LO =

under CMS guidelines nor does it comply with CMS best practices for contemporaneous
documentation and coding. In the specific example below, a patient was seen for a knee and sleep
problem. Two months after the visit, the physician addended the progress note to say the patient has
diabetes with chronic kidney disease (DM2 W DIABETIC CKD STAGE 1) based on laboratory tests,

with no indication that the diabetes or chronic kidney disease was addressed at the visit:

 

 

 

Reason For Visit History
User Date & Time
Sitchler, Christi A 7/6/2012 2:26 PM
Reason For Visit
KNEE PROBLEM
Comment: RT x 2 days
SLEEP PROBLEM
User Date & Time
Sitchler, Christi A 7/6/2012 2:25 PM
Reason For Visit
KNEE PROBLEM
Comment: RT x 2 days
User Date & Time
Sitchler, Christi A 7/6/2012 2:25PM
Reason For Visit
KNEE PROBLEM
Di:
N TIBIOFIBULA, : r 844.3
MAJOR DEPRESSION, RECURRENT 296.30
DYSSOMNIA 780.56
DM 2 W DIABETIC CKD STAGE 1 (GFR >= 00) 250.40, 585.1
After Visit —
Pi Notes

 

 

Lewis, Anna Kiaertje (M.D.) 9/19/2012 7:50 PM Signed
After review of my note for this visit encounter, | recall this encounter and am addending this note to state
that this patient has diagnosis of.

DM 2 W DIABETIC CKD STAGE 14 (GFR >= 90)

Note: GLOMERULAR FILTRATION RATE - AFRICAN AMERICAN >60 07/06/2012
GLOMERULAR FILTRATION RATE - AFRICAN AMERICAN >60 04/03/2012
GLOMERULAR FILTRATION RATE - AFRICAN AMERICAN >60 06/21/2011
GLOMERULAR FILTRATION RATE, NONAFRICAN AMERICAN >60 07/06/2012
GLOMERULAR FILTRATION RATE, NONAFRICAN AMERICAN >60 04/03/2012
GLOMERULAR FILTRATION RATE - NONAFRICAN AMERICAN >60 06/21/2011
GLOMERULAR FILTRATION RATE - NONAFRICAN AMERICAN >60 11/04/2010
GLOMERULAR FILTRATION RATE - NONAFRICAN AMERICAN >60 03/18/2010
CREATININE 0.78 07/06/2012

ALBUMIN/CREATININE RATIO, UR 54.5 07/06/2012

GFR is stable, but patient has microalbuminuria. Will follow. Control DM, HTN

30. In addition, Kaiser tells its doctors to change diagnoses to upcode to higher value and
more complicated forms of diseases. For example, Kaiser prompted physicians to addend diabetes
diagnoses to include hyperlipidemia as a complication where tests or records reflected hyperlipidemia
regardless of whether the hyperlipidemia was actually due to diabetes. Likewise, changed diagnoses to

add complications are addended long after patient encounters. Dr. Pont, in the example below,

addended her progress note seven months after the initial patient visit to change a diagnosis from

 

 

 

10

 
Oo SoS ~sS DO A SF WD HNO =

NO NO NO WN NO BR HN HNO HNO me ee lle
on DN ON RR WD NY KH CO OBO CO HS HN HR Be WY YD S| CS

w ~

diabetes without complications (ICD-9 250.00) to diabetes with mixed hyperlipidemia (250.80, 272.2),

which maps to a higher reimbursement HCC:

Vielt and Patient Information

a

 

 

 

 

Reason For Visit History
User Date & Tene
Griffin, Kristine G (M.A) 232012 10:61 AM
Reason For Visit
PHYSICAL EXAMINATION
RETIN KERATOMS - Primary 702.0
PHASE POPULATION MANAGEMENT PROGRAM. v49.89
DM, WO RETINOPATHY 250.00
DM2 250.00
HYPERLIPIDEMIA 272.4
HTN 401.9
GOUT 2749
SCREENING FOR CA, COLON v76.51
ELEVATED PROSTATE SPECIFIC ANTIGEN MEASUREMENT 790.93
HYPERPARATHYROIDISM, PRIMARY 252.01
DM 2 W DIABETIC HYPERLIPIDEMIA, MIXED 260.80, 272.2
Afvor Visit Summary
Notes

 

Addendum to previous chart entry on 2-3-12

After reviewing the notes from the aforementioned visit, | recall the visit. The previous note refiects that |
evaluated the patient who has the diagnosis of dm2 with mixed hypertipidemia as evidence by tg 210 on
11-8-05, It 134 on 6-5-01.

Pont, Joan Turner (M.D.} 2/3/2012 11:30 AM Signed
Clinical Progress Note:
Patient presents with a chief complaint of PHYSICAL EXAMINATION

HPI: completed cataract surgery and whiter and brighter vision! Left still needs to be done
1 have reviewed

medica Mistery wih no changes 2/2/2012, social History wit no changes 2/2012 and tay history win
31. Kaiser also addended and submitted diagnostic codes for complex conditions without
proper support (1.e., not a true causal connection). In 2009, providers were told to capture diagnoses of
Peripheral Vascular Disease (“PVD”) and Diabetic Peripheral Vascular Disease (“DPVD”) using
Carotid Artery Stenosis as evidence.
a. Dr. Lori Selleck saw a patient on April 10, 2009 at 4:31 PM. There is no mention of
PVD, however, four months later, on December 30, 2009, there is an addendum
stating, “PVD = carotid a stenosis.” Not only is the code assigned long after the
patient encounter, but there is no evidence or documentation showing that the

condition was present during the physician encounter. Furthermore, PVD and

Carotid Artery Stenosis have no causal link:

 

 

 

11

 
oOo Oo NHN OO SP WY NY =

NO bBo NO NH HN NH N HYD KN HH HH KF | HF FE FEF EF S| hl =
ao nN HN A SES WY NY | Oo CO Boe IN BHO OA FSF WY NO =

Office Visit (arm 110001276530)
Visit and Patient information
Encounter Date

~ is
Reason Fat visit Hetory

User
Steenburgh, Tyrone N (NLA) 1012008 4:31 PM

Reason For Visit
PHYSICAL EXAMINATION

HEALTH CHECK UP, ADULT ~- Primary ViIOo
HYPERTENSION 401.0
G(ANT CELL ARTERITIS 46.5
HYPERLIPDEMIA 2724
CAROTID ARTERY STENOSIS, ASYMPTOMATIC 433.10
PERIPHERAL VASCULAR DISEASE 443.0

After Vinit Sumwnary

Selleck, Lori Z. (M.D.) 12/90/2008 1228 PM Addendum
PVD = carotid a sienosis

 

b. Dr. David Conant met with a patient on June 28, 2011. Almost one year later, on

May 28, 2012, at 8:44 AM he addended his progress note to replace nephropathy
with chronic kidney disease, just as Kaiser encouraged to ensure the higher value
HCC would be captured when Medicare paid for this enrollee:

Visit and Patient Information
Encounter Date

“ait

Reason For Visit History
User Date & Tame
Jones, Mariene J. (M.A.) 6/28/2011 8:58 AM

Reason For Visit
HEALTH MAINTENANCE

RT CHECK UP, ADULT - Primary Vi0.0

DM 2 W LOW HDL AND HIGH TRIGLYCERIDE DUE TO DM 250.80, 272.4
(DIABETIC DYSLIPIDEMIA)

HYPERLIPIDEMIA 272.4

HTN 401.9

DM 2 W DIAGETIC CHRONIC KIDNEY DISEASE, STAGE 1 250.40, 585.1

After Viskt Sunwmary
After Visit Summary

Pi Notes
Conant, David Loring (M.D.) S212 6:44 AM Addendum
kidney disease stage 1 because the latter is more appropriate for his condition.

Conant, David Loring (M.D.) 6/28/2011 9:26 AM Signed
Chief Complaint

Member presents with Patient presents with:

HEALTH MAINTENANCE

 

 

 

HPI: Accompanied by mother and sister. Generally doing well. Attending day program, using stationary
bike 45 minutes on most days.

At today's visit | reviewed the patient's problem list, past medical and surgical history, social history and
relevant famity history.

 

 

 

12

 
Co Oo SS DB A FSF WY NO =

NHN NO NY NO NN YN YN NO NO mw me Oe
ao nN KN A BP WS NYO K§ OD BO CO HN HD A FF WY NO | ©

32. Kaiser also provides boilerplate phrases to help its physicians justify addenda. Kaiser’s
boilerplate addendum phrases can be automatically inserted through a combination of key strokes and
physicians are expected to use these phrases rather than their own language and discretion based on
what they recall from visits. The language Kaiser physicians use is intended to give CMS the
impression that the doctor thought about the addenda and wants to comply with Medicare instructions
for amendments and corrections. Encounter Information Operations staff send emails to physicians
recommending the use of macros such as “. DKUPDATE?” for addendum phrases, leading the
physicians to state exactly what Kaiser needs records to say to amend records for coding. For example,
when a physician enters “.DXUPDATE,” the following phrases will populate the medical record:
“After review of my note for this encounter, I recall this visit and am addending this note to state that
this patient has a more specific diagnosis of: @diag@.”

a. Dr. Rukiye Yoltar met with a patient on September 5, 2012. At 5:53 PM on October
9, 2012, a month later she writes: “After review of my note for this encounter, I
recall this visit and am addending this note to state that this patient has a more
specific diagnosis of: DM 2 W DIABETIC MIXED HYPERLIPIDEMIA (primary
encounter diagnosis).”

b. Dr. Charles E. Metzger met with a patient on January 19, 2012 at 11:13 AM. Nearly
nine months later on October 9, 2012, at 6:34 PM he used nearly identical language
as Dr. Yoltar on the same day: “After review of my note for this encounter, I recall
this visit and am addending this note to state that this patient has a more specific
diagnosis of: DM2 W DIABETIC MIXED HYPERLIPIDEMIA.”

c. Another example of boilerplate language was sent through email for use with

upcoding to diabetes with diabetic chronic kidney disease:

 

 

 

13

 
 

 

 

 

Oo Oo SS) BAO A BR WD NO eS

NO NO NO NO HR KR RN RQ RO me ee ee ee
aon KN ON FP Ww NY FY Oo OO ON BHNO AO PR OW NY |

 

UU ’

FROM EMAIL SENT BY KAREN GRAHAM TO DOC CODING LEADS
Karen Graham/CA/KAIPERM
11/08/2011 11:34 PM

To Doc Coding Leads-KPNC
cc
Subject EBA-SmartPhrase for Addendum to capture DM w/DCKD

As a follow up to the Doc & Coding Leads conf call, East Bay provided the following
Smartphrase which Dr. David Law created to use in an Addendum for DM w/DCKD:

“After reviewing my visit note, | recall this encounter. The visit note reflects that |

evaluated the patient, who has the diagnosis of diabetic CKD, stage 1. Plan is to
optimize control of blood pressure and diabetes, and recheck urine protein”

33. Although physicians should be using their own discretion for diagnosing, if doctors
disagree with the prompt to review and addend records, they must explain their refusal to the regional
Encounter Information Operations auditors. To ensure there are almost no “missed opportunities” to
capture data mined and refreshed diagnoses, Kaiser pressures its physicians to addend diagnoses and
capture the high value HCCs, with the assistance of staff, including Relator. For example, to ensure
capturing of HCCs, Kaiser instituted an escalation process for physicians who do not agree with the
data mining prompts. Physicians will have to meet one-on-one with Data Quality Trainers if they
refuse to make diagnoses changes that are presented by data mining. The physicians must explain why
they disagree, resulting in The Permanente Medical Group’s management engaging with these
physicians directly until there is resolution. Physicians often give in and use the diagnoses that
management asks for rather than using their own, original judgment in coding diagnoses. The following
slide from the Encounter Information Operations department describes the escalation process, including

meeting with management such as Lead Physician Jill Dunton.

 

 

 

14

 
oO co NN DB WO FF WH HO

NY NO ND N N WHO ND NN NO HH HF HF HF HF Fe Oe eS
ot KN ON FF WY NY | COD OO Be HANA HD A FP WD NY —| O&O

Internal Medicine Communication/Missed Opportunities

     

Gain a Presence: : ’

« Present at monthly departmental meetings to discuss CMS goals and expectations

* Create Facility CMS Website

* Create regular reports for physician leaders displaying performance metrics for both
department and individual clinicians

e Post articles in Newsletter

Prevent Missed Oppoteuniites —
e Distribute Missed Opportunity lists to Physicians on a monthly basis
e Implement process for printing MDPs for same day appointments

e Use the MDRS Jump Button

Individual Physician Follow-Up

e Attend Lunch & Learn Sessions/Lunch Lab workshops

e Send KPHC Staff Message when follow-upis required _

e Assist With missed opportunities, data mining and remediations
e 1:1 Clinician Training es i
Escalation

* Identify non-compliance
e Schedule 1:1 training time
e Engage CMS Leads, Module Leader and/or Chief as necessary

34. In addition to the escalation process the physicians face if they refuse to comply with the
prompts to refresh or retroactively change diagnoses, physicians have personal report cards based on
how they perform in certain areas, which are tied to their compensation. After the Encounter
Information Operations shifted to emphasizing the importance of HCC and their matching diagnostic
codes, the physician report cards included how they respond to refreshing and data mining prompts. In
other words, bonuses for doctors now become, at least in part, tied to diagnosis chasing.

35. Kaiser also pressures providers into approving retroactive diagnoses, which increase
revenue, but does not ensure quality of care. Kaiser has mandatory meetings called “coding parties,”
where physicians are gathered in a single room with computers and asked to review past progress notes
for addenda related to revised medical diagnoses. Coding parties occur on at least a yearly basis.
There are new diagnoses to focus on every year and physicians are expected to addend 30 to 40
progress notes over a 3-hour period. Addenda made in September and October of 2012, demonstrate
there were “coding parties” where, for example, the following physicians amended medical records,
including for diagnoses of diabetes with mixed hyperlipidemia, as described above:

a. On September 19, 2012:
e Dr. Irina Sophie Cons Defischer addended at 6:15 PM; and

 

 

 

15

 
oO Oo SN HD A SF WY NY —

NO NO NO NH NH NY NO NO NO FS Ff F| FS 82 8
ma == CC a —& Ww = S&S 6 CB Ss DB Fh SS Ww = S&S

—)

e Dr. Patrick Flynn Roland addended at 6:38 PM; and
e Dr. Anna Klaertje Lewis addended at 7:11, 7:22; 7:25, and 7:50 PM.

b. On September 20, 2012:

Cc.

e Dr. Raymund Mafnus Damian addended at 6:14 PM;
e Dr. Carolyn Mar addended at 6:37 PM;
e Dr. Jill Dunton addended at 6:40 PM and 7:10 PM;
e Dr. John David Culbertson addended at 6:42 PM;
e Dr. Roberto Gonzalez addended at 6:46 PM;
e Dr. Ryan Scott Lum addended at 6:47 PM;
e Dr. Joan Turner Pont addended at 6:47 and 6:57 PM;
e Dr. John David Culbertson addended at 6:56 PM;
e Dr. Alan Kneital addended at 6:56, 6:59, 7:01, 7:06, and 7:10 PM; and.
e Dr. Lori Selleck addended at 7:04 PM.

On October 9, 2012:
e Dr. Rukiye Yoltar addended at 5:53 and 6:20 PM;
e Dr. Daniel Gerard White addended at 6:16 PM; and
e Dr. Charles Metzger addended at 6:33 and 6:34 PM.

 

 

 

16

 
Oo ce FT aD UU SF WwW WN —

NN NO NY NYO NH NY NY NY NO KY KF KF FF KF KF ESF EF
co UmT!LCUC ONC ee LDC llc Ol TS ll ASTD ee OG lL CUS

36. Kaiser also pressures physicians to diagnose Medicare patients through incentive

programs, such as this doctor’s $100 reward:

Year End 2006 ed hada la
Refresh Rate Winner

Dr. Padmesh saw a total of 129
Medicare Patients with 62
chronic diagnoses. Of these,”
he refreshed 42, achievinga

refresh rate of 68%

CERTIFICATE

REWARD: $100 American
Express Gift Certificate

Pere PTT ere Olea rae

 

37. Kaiser tracks and rewards physicians based on the percentage of chronic conditions they
are able to capture and refresh. Additionally, Kaiser positioned the Southern California Region against
Northern California in competition for the highest risk scores and physician approval rates. The

following demonstrates the competition from the CMS Leads Meetings in 2008:

 

 

 

iF

 
Co co tN DN AH Ff WY NO

NO NO NY NO NO NO WN NO NO FS FS FS YF KF PFS OES Ohl SE|ll Sh
on NO NN ke YW KN KH OOOOlUNUCOUllLlUlUCeOrROlUMUGN UNCON Uh SlLUMNLGULN CUCU

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Hcc NCal $Cal Potential increase
Hierarchy
Higher | Low High Low
HCCs HCCs |HCCs | HCCs
Diabetes 56% 44% 73% 27% $53M
HCC 15-19
Cancer 16% 84% 20% 80% $17M
HCC 7-10
Renal Failure | 83% 17% 99% 1% $10M
HCC 131-132
Depression 569 / 852 / $20M
10k 10k
Protein Calorie | 37 / 157 / $33M
Mainutrition 10k 10k
Totals $133M
Bue eM Ue en Uru ee Ow)
ISSUE:
In five HCCs categories, SCal appears to document more conditions in higher diagnostic categones of the same hierarchy, which could resultin:
* enhanced patient care tracking

« improved disease monitoring
* appropriate reimbursement for iliness burden
= significant financial impact, estimated atan estimated $80M variance for capture within the 5 calegones

Regional Focus Audit Verification
* 7% of Cancer HCC7 indicated metastatic disease was implicitly or expliatly documented but not captured
» 25% of Diabetes complications - not captured

38. | The competitive pressure is not only exerted between regions, but within the region. An
email from Aaron Smith regarding the San Rafael Kaiser facility on May 17, 2013, describes the
ranking of facilities on documentation and coding “missed opportunities” for April 2013. Mr. Smith
states:

Refresh: We are at 70.9%, 6th in the Region (down from 5th last month), above where

we were in 2012 (69%), above the tracking goal of 64%, as well as the Region average of

67.3 percent.

With the change in payment structure for 2013 (60% for Data Mining, 40% for Refresh),

nie the April benchmark brings our performance payment for the year to
143,114.

 

 

 

18

 
o oOo SN BH OO FF W NO =

NO NO NY NY NY NY WH NHN NO KH FF KF FF FSF KF FSF ESF hl S| hl
ao oN ON OlUCURelCU GN lr S| Cc OS lO lS SCN eee NDC

 

ws wi

We currently have just under 1600 outstanding missed opportunities out to PCP's.
Granted many of those are data mining prompts, which are not in our refresh
denominator, but are in the addressed data mining denominator (which is actually worth
more locally than standard refresh). So we certainly could and should be doing better
than our 70.9% rate if that number could be significantly reduced through one-on-one sit-
down with those PCP's who have a large number of dx that we have not hard [sic] back
on.”

Seeing Pts: We are at 78.1%, 3rd in the Region, above where we were at this point in
2012 (76.7%) and the Region average (75.6%).

The caller and PCP/MA's are currently calling those members who were unable to reach
when they were originally on a call list and were due for an appointment in the first half
of the year. With such an elevated Seeing Patients percentage, it's a bit disappointing that
hasn't translated to a higher overall refresh percentage and data mining addressed rate
ae are two [of] the benchmarks that we are financially incentivized on [emphasis
added].

Data Mining: We are below the Region average in terms of coding (88.8% vs. 91.9%)
and have gone through a lower percentage of overall prompts than the NCAL [Kaiser
Northern California] average to date (43.5% vs. 48.2%). This places us 13th in NCAL,
which is staggeringly low considering where we are at with Patients Seen and Refresh.
The percentage of prompts required to either be stopped or coded for by the end of the
year is 90 percent. Doing that will lead to receiving the remaining 60% of the annual
allocation not tied in with refresh.

Part of the gap between the 43.5 and 48.2 numbers could be made up by that

overwhelming number of PCP missed opportunities mentioned above, which includes a

large number of data mining prompts that even if we can't addend for or stop could at

least be put on the Problems List to alert the clinician the next time they see the member.

That will be of utmost importance as this is a category that the denominator can continue

to grow through October 31, which is the deadline for Region in releasing prompts that

need to be addressed or stopped by December 31, 2013.

39. Kaiser ties funding allocations to a facility’s refresh and data mining rates such that a
facility will lose an allocation if goals are not met. For example, in 2012, Kaiser’s goal for refreshing
chronic diagnoses was 99%, which was 60% of a facility’s total allocation. The 2012 goal for
addressing data mining conditions was 90%, which was 40% of the total allocation. In other words, if
the providers do not address at least 90% of the data mined conditions, 40% of the allocation was

unavailable the next year.

 

re Se
Maintaining Diagnoses = 99%

This represents 60% of Performance Allocation

 

 

 

 

19

 
So ON DN NH FF WD LY =

NO NO NO NH NO LO HN RH HNO mm el ee
ao nN BNO UN FF WY NY S§ CO OOH STD DH OH SF WY YO K& OC

2012 ‘New’ Focus: Capture Key Conditions

 

Expected Prevalence Rates
e Protein Calorie Malnutrition — 250 / 10k

e Diabetes w/ Neurologic Manifestations — 600 / 10k

e Vascular Disease / Aortic Atherosclerosis — 1,200/ 10k
e Renal Failure — 2,200 / 10k

This represents 40% of Performance Allocation

 

 

 

40. In 2013, Kaiser’s goal for refreshing chronic diagnoses is 99%, which is 40% of a
facility’s total allocation. The 2013 goal for addressing data mining conditions is still 90%, but it is
now 60% of the total allocation. Data mining is a key factor for Kaiser’s facility allocations. The Data
Quality Trainers, such as Relator, are managed by the regional office in Oakland, so the pressure is
primarily on the physicians to make sure they address all the refreshing and data mining for own their
facilities.

41. | The focus since 2007 on data mining and high value HCCs has ensured increased
billings from Kaiser to Medicare. For example in 2009 alone, high value HCCs resulted in $51 million

dollars in CMS payments to Kaiser’s Northern California region:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

| Data-Mining Condition Volume Reimbursament
HE 62 Ss $2,500.00
cKD 3434 Ss 7.237,327.00
DEP 4927 s 9,470,285.00
DM w/ PN 7499 Ss 7,762,590.00
Protein Calorie Malnutrition 435 Ss 1,048,3829.00
AMP, OST-STOMA, Trach 142 Ss 440,911.00
DM w/ PVD 188 s 392,679.00
DM w/ CKD 17ss Ss 6,018,734.00
MDD 1318 Ss 3,101,175.00
CAD 6983 Ss 4,639,435.00
PYvD A329 Ss 755,458.00
DM w/ DYS 2965S Ss 6,133,814.00
DM w/ ED 1791 Ss 3,705,113.00
Totals 31968 $5imMm

 

 

 

 

42. Kaiser failed to, and continues to fail to, comply with CMS guidelines and instructions.
With the addition of more data mining prompts each year, despite CMS’ efforts to rein in payments to
Medicare Advantage organizations, Kaiser’s reimbursement continues to grow, violating the False

Claims Act.

 

 

 

20

 
 

 

 

 

 

 

 

 

 

Oo oe NN DO Wn HBP WO NO

NO wo HNO HO NH HO HN NH ND KH HF HH HF KF KF OF OS ES eS
eo Ss BO ON BP WY NY S| ODS Oo wee HSN DO AW BR WY NYY | S&S

L ~

COUNT I
False Claims Act Violations — Presentation of False Claims
(31 U.S.C. § 3729(a)(1)(A))

43. Relator re-alleges and incorporates all paragraphs alleged herein.

44. __ By virtue of the acts described above, Defendant knowingly presented or caused to
be presented, to the United States Government false or fraudulent claims for the payment or approval
of medical services in violation of 31 U.S.C. § 3729(a)(1)(A).

45. By reason of these payments, the United States has been damaged, and continues to be
damaged, by a substantial amount.

COUNT II
False Claims Act Violations — False Records or Statements
(31 U.S.C. § 3729(a)(1)(B))

46. Relator re-alleges and incorporates all paragraphs alleged herein.

47. By virtue of the acts described above, Defendant knowingly made, used, or caused to be
made or used, false records or statements material to false or fraudulent claims paid or approved by the
United States Government in violation of 31 U.S.C. § 3729(a)(1)(B).

48. By reason of these payments, the United States has been damaged, and continues to be
damaged, by a substantial amount.

PRAYER FOR RELIEF
WHEREFORE, Relator Ronda Osinek requests that judgment be entered against Defendant, ordering
that:

49. Defendant pays not less than $5,500 and not more than $11,000 for each violation of 31
U.S.C. § 3729(a) plus three times the amount of damages the United States has sustained because of
Defendant’s actions;

50. Relator be awarded the maximum amount allowed pursuant to 31 U.S.C. § 3730(d);

51. Relator be awarded all costs of this action, including attorneys’ fees and costs pursuant

to 31 U.S.C. § 3730(d); and

 

 

 

21

 
Oo ©& SN NHN A FR WD HN

NHN NO NY NY NY NY YN WN YN KK Fe eS ee SF SEO Sl eS
on KN UN FO He UNO PP OllUlUlUlCCOUlUlUlUlUMDWUNMLlUNClCUlrOCURlUlUWLlUCUN OU ClO

 

 

 

~

52. | The United States and Relator recover such other relief as the Court deems just and

proper.

JURY TRIAL

Pursuant to Federal Rule of Civil Procedure 38, Plaintiff demands a trial by jury.

Dated: August BQ 13

Respectfully Submitted

GIRARD GIBBS LLP

Eric H. Gibbs

Dylan Hughes

Phyra M. McCandless

601 California Street, 14th Floor
San Francisco, CA 94108
Telephone: (415) 981-4800
Facsimile: (415) 981-4846

 

Attorneys for Plaintiff

22

 
